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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :        Chapter 11
                                                              :
 WESTINGHOUSE ELECTRIC COMPANY                                :        Case No. 17-10751 (MEW)
 LLC, et al.,                                                 :
                                                              :
                   Debtors. 1                                 :        (Jointly Administered)
                                                              :
 ------------------------------------------------------------ x


             NOTICE OF FILING THE DECLARATIONS OF DISINTERSTEDNESS
                     BY DTT MEMBER FIRM AS SUBCONTRACTOR


                  PLEASE TAKE NOTICE THAT consistent with the requirements set forth in

 this Court’s Order Pursuant to 11 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016,

 and Local Rules 2014-1 and 2016-1 for Authority to Employ and Retain Deloitte Consulting LLP

 for Consulting Services Nunc Pro Tunc to November 28, 2017 [Docket No. 2972] (the “Retention

 Order”), to the extent any non-U.S. member firm of Deloitte Touche Tohmatsu Limited (each a

 “DTT Member Firm”) provides services as a subcontractor to Deloitte Financial Advisory Services

 LLP (“Deloitte FAS”) in connection with Deloitte FAS’s engagement with the Debtors, such DTT



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
 Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
 Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services,
 LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction
 Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572), Stone & Webster International
 Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB
 Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions,
 LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC
 Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC LLC
 (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry
 Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive,
 Cranberry Township, Pennsylvania 16066.
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                                   EXHIBIT A
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
                                                            x
  In re:                                                            Chapter    11

  WESTINGHOUSE ELECTRIC COMPANY                                     Case No. 17-10751(ME\Ð
  LLC, et al.,


                   Debtors.l                                        (Jointly Administered)

                                                            x

     DECLARATION OF DELOITTE BELASTINGCONSULENTEN IN CONNECTION
      \ryITH THE DEBTORS' RETENTION OF DELOITTE FINANCIAL ADVISORY
                 SERVICES LLP AND DELOITTE CONSULTING LLP




  2 The Debtors, along with the last four digits of each Debtor's federal tax identification number,   if   any,   are:
  Westinghouse Electric Company LLC (0933), CE Nuclear Power Intemational, Inc. (8833), Fauske and Associates
  LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaRNuclear Holding Co., Inc.
  (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw
  Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone
  & Webster Intemational Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK)
  Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC
  Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
  Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC
  Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC Staffing
  Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products Intemational
  Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing
  Company LLC (5961). The Debtors' principal offices are located at 1000 Westinghouse Drive, Cranberry Township,
  Pennsylvania 16066.
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           1.        We, Tom Declercq and Pascal Van Hove members of the management committee of Deloitte

   Belastingconsulenten/Conseils Fiscaux (hereinafter "Deloitte Belastingconsulenten") civil company under the form

   of a cooperative limited liability   company (Burgerlijke vennootschap onder de vorrn van een coöperatieve

  vennootschap met beperkte aansprakelijkheid/Société civile sous forme d'une société coopérative à responsabilité

   limité) with registered office at Gateway building, Luchthaven Brussel Nationaal 1 J, 1930 Zaventem, Belgium,

  registered at the Crossroad Bank of Enterprises under nr. 0418.466.314 (Registry of Legal Entities Brussels), are duly

  authorized to make and submit this declaration (the "Declaration") on behalf of Deloitte Belastingconsulenten, who

  delivered certain services in relation to Export Compliance Work (the "Services") as subcontractor to Deloitte

  Financial Advisory Services LLP ("Deloitte tr'AS"), which has an office at 555 12th Street NW, Suite 400,

   Washington, D.C. 20004, USA in accordance with specific instructions received from the latter in connection with

  the latter's services to Vy'estinghouse Electric Company LLC which has an office at 1000 Westinghouse Drive,

  Cranberry Township, Pennsylvania 16066, USA and certain debtors and debtors in possession specified in Footnote

  2 (collectively, the "Debtors"2).

           2.       Deloitte FAS requested Deloitte Belastingconsulenten to provide a declaration of disinterestedness

  with   respect   to the   outcome   of the Westinghouse Electric Company LLC bankruptcy               case. Deloitte

  Belastingconsulenten understands that disinterestedness means that Deloitte Belastingconsulenten does not have a

  conflict ofinterest as per The Code ofEthics for Professional Accountants issued by the Intemational Ethics Standards

  Board for Accountants.




  2 The Debtors, along with the last four digits of each Debtor's federal tax identifrcation number,        if   any,   are:
  Westinghouse Electric Company LLC (0933), CE Nuclear Power Intemational, Inc. (8833), Fauske and Associates
  LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc.
  (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw
  Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone
  & Webster Intemational Inc. (1586), Stone & Vy'ebster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK)
  Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC
  Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
  Solutions,   LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC
  Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC Staffing
  Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
  Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing
  Company LLC (5961). The Debtors' principal offices are located at 1000 Westinghouse Drive, Cranberry Township,
  Pennsylvania 16066.


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   This includes that Deloitte Belastingconsulenten nor any partner that provided the Services for which Deloitte

   Belastingconsulenten was retained, ("The Engagement Partner") (a) holds any interest adverse to the Debtors, and (b)

   has no relationship to the Debtors,    their significant creditors, certain other significant parties-in-interest, or to attorneys

   that are known to be assisting the Debtor in the bankruptcy case (all such parties being the parties named Schedule             l,
   whose specific names were provided to Deloitte Belastingconsulenten by Deloitte FAS) adverse to the Debtors, except

   as stated herein   or in any attachment hereto.

  For the present Declaration disinterestedness (hereinafter "Disinterestedness" or being "Disinterested") will be defined

   as understood by    Deloitte Belastingconsulenten as provided above.

            3.   The statements set forth in this Declaration (i) are based upon our personal knowledge, information and

   beliefand client matter records kept in the ordinary course ofbusiness that were reviewed by us or other personnel of

   Deloitte Belastingconsulenten and (ii) result from the following review performed:

                 a.    Deloitte Belastingconsulenten undertook       a reasonable search   to determine whether it is or has

                       been employed by, or has any relationship with, certain of the Debtors' significant creditors and

                       "Potential Parties-in-Interest"      as provided   to it by Deloitte FAS, see Schedule    l
                 b.    Deloitte Belastingconsulenten reasonably researched its databases ofclient relationships and

                       connections and performed reasonable due diligence to determine whether it had any relationship

                       with the Debtors or the significant "Potential Parties-in-Interest". This included database

                       researches across the following:

                              i.   Deloitte Belastingconsulenten's Client and Engagement Database for current

                                   opportunities and engagements

                            ii.    Deloitte Belastingconsulenten's Business Relationships Database for third party

                                   relationships and

                           iii.    Deloitte Belastingconsulenten's Conflict Check Database for conflict of interest checks

                 c.    For the identified results, Deloitte Belastingconsulenten performed fuither reasonable detailed

                       review on its relationship to identi$ whether it has an interest materially adverse to the interest of

                       the estate or of any class of creditors or equity security holders of rvVestinghouse Electric Company

                       LLC,   as described above.

  In performing such research, the following criteria were applied:



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                d.   The research was related to Deloitte Belastingconsulenten affiliates located in Belgium;

                e.   For the identified results, where necessary, the relevant engagement partners were interviewed to

                     check whether the services may have been connected with the bankruptcy;

                f.   The research included the last 2 years' records;

                g.   In performing the research, Deloitte Belastingconsulenten considered third party relationships with

                     the exception ofvendor relationships; and

                h.   With respect to natural persons, the research was performed on Engagement Partners operating for

                     Deloitte Belastingconsulenten and,/or its affi liates.


                                                       Disinterestedness

           4.   Subject to the foregoing, except as set forth herein and in the attachments hereto, to the best of our

  personal information, knowledge, and belief based on reasonable inquiry as specified above under 3, Deloitte

  Belastingconsulenten was/is Disinterested with respect to the Services rendered.

           5.   From time to time, Deloitte Belastingconsulenten and/or its affiliates have provided or may cunently

  provide services, and likely   will   continue to provide services, to certain creditors   ofthe Debtors and various other

  parties potentially adverse to the Debtors in matters unrelated to the Services or the bankruptcy of Westinghouse

  Electric Company LLC or any other Debtors.

           6.   Deloitte Belastingconsulenten and its affiliates have relationships with thousands of clients, some       of

  which may be creditors ofthe Debtors or other parties-in-interest. Accordingly, Deloitte Belastingconsulenten and,/or

  its affrliates have had, currently have and/or may have in the future banking or other relationships with such parties,

  or provided, may currently provide, and/or may provide in the future professional services to certain ofthese parties

  in matters unrelated to the Services or the bankruptcy of Westinghouse Electric Company         LLC. Additionally, certain

  significant Potential Parties-in-Interest have or may have provided goods or services, may currently provide goods or

  services, and/or may in the future provide goods or services to Deloitte Belastingconsulenten and/or its affrliates in

  matters unrelated to the Services or the bankruptcy of Westinghouse Electric Company LLC.

           7.   Despite the efforts described above to identify and disclose Deloitte Belastingconsulenten's connections

  with the significant Potential Parties-in-Interest, because Deloitte Belastingconsulenten is a nationwide firm with

  many employees, Deloitte Belastingconsulenten is unable to state with certainty that every client relationship or other

  connection has been considered.        In this regard,   if   Deloitte Belastingconsulenten discovers additional material

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   information that it determines requires disclosure, it will file a supplemental disclosure promptly with the Coun.

               8. To the best of our knowledge,           based    on the intemal     search discussed above, Deloitte

   Belastingconsulenten has discovered the following kind of relationships with certain Debtors or Potential Parties-in-

   Interest:

                    (Ð      Deloitte Belastingconsulenten and/or its affiliates provide services to certain ofthe Potential
                            Parties-in-Interest and/or their afhliates listed on Schedule 1. Where necessary, the involved
                            Partners confirmed that such services are unrelated to the bankruptcy of Westinghouse Electric
                            Company LLC.

                    (ii)    Deloitte Belastingconsulenten and/or its affiliates have financial relationships with certain   of
                            the Potential Parties-in-Interest and/or their affiliates listed on Schedule 1

                    (iii)   An affrliate of Deloitte Belastingconsulenten has provided and continues to provide audit
                            services to certain of the Potential Parties-in-Interest listed on Schedule 1 in its capacity as
                            independent auditor.




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           9.   The present Dçclaration is rendered under Belgian law and the Declaration and all terms used therein

  are to be construed and interpreted solely   in accordance with Belgian law.


           Wc declare that the foregoing is true and correct.


  Date: 13 November 2018




  Deloitte Belastingconsulenten burgerlijke vennootschap owe CVBA




     Declercq                                    Pascal Van Hove
  Member of the Management Committee             Member of the Management Committee




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                                                         Schedule   I
                                                 Potential Parties in Interest

  Potential parties-in-interest or their affiliates for whom Deloitte Belastingconsulenten or its affiliates has provided or
  is currently providing services in matters unrelated to the bankruptcy of Westinghouse Electric Company LLC or its
  affiliates, except as set forth above, or with whom such parties have other relationships, including banking

   lst Constitution      Bank

   ABB AB

   Accenture LLP

   ACE

   ACE/Westchester

   Aecon lndustrial

   Aetna lnc.

   AIG

   Air Products & Chemicals lnc.
   Airgas lnc

   Alabama Power Company

   Alabama, State of

   Alaska, State of - Corporations Business & Professional Licensing

   ALCOSAN

   AlixPartners,   LLP

   Allegheny Power

   Allianz Global Corporate & Specialty   SE

   Allied Waste Services

   Amec Foster Wheeler Nuclear UK Ltd

   Ameren Missouri
   American Casualty Co. of Reading

   American Electric Power
   American Equipment Co.
   American Home Assurance Co.
   American Nuclear lnsurers (ANl)
   Amlin Corporate lnsurance
   Amundi Absolute Return Apotlo Fund      PLC

   Ansaldo

   AON Hewitt

   Apollo lnvestment Corporation
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      AREVA

      Ariba, lnc.

      Aricent US, lnc.

      Arizona Public Service Company

      Arkansas, State of

      Armstrong
      AT&T

      ATI Specialty Alloys Components

      Atkins

      Avaya

      AXIS lnsurance Company


      Babcock & Wilcox Nuclear Energy lnc.



      Backoffice Associates

      Baker Concrete Construction lnc.


      Banco Santander


      Bank of China

      Bank of Taiwan

      Bank of Tokyo-Mitsubishi UFJ, Ltd

      Basler Electric

      Battelle Memorial lnstitute
      Bayerische Hypo- und Vereinsbank AG

      BC&l Stone & Webster, lnc.

      Beacon Health Options

      Ben Franklin Design & Mfg Co lnc.

      Berkeley Research Group, LLC (Toshiba Advisors)

      Bishop, lames E.

      Blackbox

      Blanchard Machinery Co

      BNP Paribas


      Board of Water, Light and Sinking Fund Commissioners

      BP Energy CO




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       Brenntag

       Bruce Power

       Burns, John W

       BWXT Nog Technologies lnc.

       Cable USA lnc.

       Cameco Corporation

       Cameron Measurement Systems

       Canberra lndustries lnc.

       Cartus Formally Cendant Mobility
       Cascade Natural Gas

       CA-The Concourse Limited Partnership

       CB&l Contractors, lnc.

       CDW Computer Centers, lnc.

       Century Link - Voice - Ogden

       Ceradyne lnc.

       CEZ, a. s

       CH2MHill Plateau Remediation Company

       Chandler, Richard   E.   Jr

       Chattanooga Gas

       Chicago Bridge & lron Company, N.V


       China Telecom Beijing Co.

       China Unicom Beijing Co.

       Chromalox

       Cigna Corp

       Citibank, N.A.

       Citizens of Georgia Power

       City of Aurora, Tax Licensing Division

       City of Chicago Department of Finance

       City of Mobile Alabama Tax Collector

       City of New Orleans - Sales Tax Division


       Clark, Jimmy c/oTroy A. Lanier, P.C.



       Clean Harbors Environmental Svcs.

       CNA Surety


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      Coleman, S. Walt

      Colorado Department of Revenue

      Comcast Corporation



      ComEd


      Connecticut Secretary of State Document Review

      Consolidated Communications

      Constellation Energy Nuclear Group

      Corey, Nina A.

      Crane Nuclear lnc

      Crawford & Co.
      CSC   Computer Sciences Corp.

      CSC   Consulting lnc.

      Curtiss Wright


      CVS   Caremark

      Daikin Applied Americas lnc.


      Davis, Larry W. P.E


      Delaware Dept. of State

      Department of Energy

      Deutsche Bank AG

      DirecTv

      DirecTv Sports Net Pittsburgh LLC

      Dominion

      Doosan Babcock Ltd

      DRS   Consolidated Controls lnc.

      Ducera Partners (SCANA Advisors)

      Duke Energy

      Duquesne Light Company

      E.ON Generation GmbH

      Eagle Technologies Group

      Earthlink Business

      Eaton Corporation

      EDF -   Ceidre


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      Emerson lndustrial

      Emirates Nuclear Energy Corporation

      EnBW Energie Baden-W?rttemberg AG


      Energy & Process Corporation


      Energy Northwest

      Energy Solutions Government Group, lnc.

      Energy Steel & Co.

      Energy Steel And Supply Co

      Enersys Delaware lnc.

      ENGIE

      Entergy

      EPM     - Fisher Controls lntl lnc.
      EPRI    (Electric Power Research lnstitute)

      Erie lnsurance

      ESKOM

      EvapTech

      Eversou rce


      Exelon Business Services Co.


      Fairbanks Morse Engine, a division of Coltec lndustries, lnc.

      Fairpoint Communications

      Federal Communications Commission

      Federal lnsurance Company (CHUBB)


      Fifth Third Equipment Finance Company

      First Communications

      Fi   rstEn ergy

      Fisher & Phillips, LLP


      Fleet Bank-NH

      Florida Department of Revenue

      Florida Power & Light Company (FPL)

      Florida, State of - Department of Revenue

      Flowserve



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      Fluor Corp.
      FPL Energy    Point Beach,       LLC

      Fragomen, Del Rey, Bernsen, & Loewy
      Framatome

      Freedom Specialty

      Frontier Communications
      Frontier Technology Corp

      Fujitsu Services Limited

      GE Canada

      GE Hitachi Nuclear Energy

      General Cable lndustries lnc.
      General Electric Company

      Georgia Power Company

      Georgia, State of - Department of Revenue

      Gerdau Ameristeel US lnc.
      Global Nuclear Fuel - Japan Co. Ltd.

      Gowlings/Marsh Canada Limited
      Graftech lnternational Holdings, lnc.

      Granite Propertles

      Graver Technologies        LLC

      Gray Plant Mooty

      Graybar Electric Co lnc.

      Great America Financial Services Corporation

      Gregg Protection Services

      Griffith, William
      Gutor Electronics,   LLC

      Hagemeyer North America, lnc.

      Hawaii State of, - Department of Taxation


      Hendrickx

      Hitachi-GE Nuclear Energy Ltd.

      Honeywell lnc.
      Howard, James

      Hudson Americas      LLC




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      IBM Credit   LLC


      ldaho Secretary of State Business Registration Division

      lHl Corporation

      lllinois Secretary of State

      lndiana Michigan Power Company

      lndiana Secretary of State

      ING Bank N.V

      lntergraph
      lnternational   SOS   Travel Assistance
      lntertek lberica Spain     SLU

      lowa Department of Revenue
      ITT Cannon Veam       ltalia   S.R.L.

      lvy Apollo Multi Asset lncome Fund

      lX WR 3735 Glen Lake Drive, L.P.
      jackson, Kathleen A.

      J   BG/Commercial Management, L.L.C.

      Jones Lang LaSalle Americas, lnc.

      JPMorgan Chase Bank, N.A.

      Kansas City Power & Light Company


      Kansas Gas and Electric Company

      Kansas Secretary   of State
      Kema-Powertest LLC

      Kennametal Deutschland GmbH

      Kentucky Secretary of State, Office of

      KEPCO


      Kernkraftwerk Brokdorf GmbH & Co. oHG
      Kilpatrick Townsend & Stockton,           LLP

      KSB   Aktiengesellschaft

      Kurtzman Carson Consultants             LLC

      Lambert, Lynn

      Larsen & Toubro

      Lazard

      Leidos Engineering LLC

      Level 3 Communications LLC


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      Lewis, A. Ron

      Lewis, Mark B

      Liberty Mutual lnsurance Company

      Lincoln Electric Company

      Lloyd's Syndicate

      LMT Div. Curtiss-Wright Flow Control

      Louisiana Secretary of State

      Louisiana, State   of- Department of Revenue
      Lynx Technology Partners lnc.

      Maine Depart. of the Secretary of State -Div. of Corporations Reporting &
      lnformation Section

      Marsh GmbH

      Martin Marietta Aggregates
      Maryland, State of

      Maryland, State of - Comptroller

      Massachusetts Department of Revenue

      MB Financial Bank, N.A.

      Mecklenburg County Tax Collector (NC)

      Meggitt France
      Memphis (TN), City of, Treasurer

      MerrillLynch
      Metal lmprovement Co      LLC


      Metropolitan Council


      Metropolitan Life lnsurance Co,

      Michigan Department of Natural Resources (MDNR)
      Michigan Department of Treasury
      Michigan, State of

      Midcap Financial Trust
      Ministry of Economy, UAE
      Minnesota Life lnsurance Company
      Minnesota, State of - Dept of Revenue
      Mirion Technologies
      Missouri Department of Natural Resources

      Mistras Group lnc.


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      Mitsubishi Corporation
      Mitsui
      Mizuho (USA) Leasing & Finance Corporation

      Montana Secretary of State's Office

      Munich Re

      NASA

      National Union Fire lnsurance Company (AlG)

      National Union Fire lnsurance, et al

      Navitas Lease Corp.

      Nebraska Public Power District


      Nebraska Secretary of State


      Nevada Secretary of State Commercial Recordings Division


      New Hampshire Secretary of State

      New Mexico Secretary of State, Office of

      New York State Department of State

      Newport News lndustrial Corp.
      Nextira One LLC d/b/a Black Box

      Nichols, Daniel

      Nicor Gas

      Norris, John M

      North Carolina Department of Revenue

      North Carolina Mecklenburg County
      North Carolina, State of

      Northeast Utilities Service Company
      Northern States Power Company
      Nova Machine Products Corp

      Nuclear Fuel Services lnc.

      Nuclear Management Company,        LLC

      Nuclear Power lnstitute of China

      Nuclear Regulatory Commission (NRC)

      NuGen

      NYC   Department of Finance


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    Obayashi Corp.
    Oglethorpe Power Company
    Ohio Department of Taxation

    OKG AB

    Oklahoma Secretary of State

    Omaha Public Power District

    OneBeacon lnsurance Company

    Ontario Power Generation (OPG)

    Oracle

    Oregon, State of


    Pacific Gas and Electric Company (PG&E)



    PallGmbh


    Parker Hannifin AB


    Parker Poe Adams & Bernstein     LLP



    Paul, Weiss Rifkind & Garrison LLP


    PCC   Structurals
    PCI Energy Services LLC

    Peerless Manufacturing Co

    Penn Power (Firstenergy of PA)

    Pennsylvania Power and Light Company

   Pension Benefit Guaranty Corporation

   Peoples Natural Gas

   Personal Communications

   PJT   Partners lnc

   Plumbers & Pipefitters 562

   PNC Bank, National Association

   PreussenElektra Gm bH - Kernkraftwerk Brokdorf

   Pricewaterhouse Coopers    LLP

   Princeton Credit Corporation

   Progress Energy Carolinas, lnc.



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       PSEG   Nuclear   LLC


       Public Service and Gas Company



       Putzmeister America lnc.

   PWR Owner's Group


   Questar Gas

   Ramsey County (MN)

   Republic Services

   Rinaldi, Finkelstein & Franklin,   LLC

   Rio    Tinto Uranium
   Rocky Mountain Power

   Rolls Royce


   Rosemount Analytical lnc.

   Royal and Sun Alliance lnsurance Plc

   Royal Bank ofScotland PLC (the)

   RSCC       Wire & Cable    LLC

   RWE

   Ryerson

   San Diego Gas & Electric Company

   Sandvik SMT EMEA AB

   Santa Clara County Tax Collector

   SAP    America lnc.

   Sargent & Lundy

   SC    State Ports Authority

   Scana Energy Marketing

   Scientech, a Business Unit of Curtiss

   SGL Carbon Gmbh


   Shaw Constructors Group, lnc.

   Shearman & Sterling LLP

   Siemens AB




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   Simmons, John


   Skadden, Arps, Slate, Meagher & Flom LLP (Toshiba Advisors)

   Skandinaviska Enskilda Banken AB (publ)

   SKODA JS a.s


   Smith, John     R. Jr

   Solvay Fluorides LLC

   Sompo Japan lnsurance Company of America

   South Carolina Department of Health and Environmnet Control

   South Dakota Secretary of State

   South Texas Nuclear Operating Company

   Southern California Edison Company

   Southern Company Services, lnc.

   Southern Nuclear Company
   Spok lnc.


   Sprint

   SPX   Corp Copes Vulcan Operation

   St. Charles Parish School Board Sales and Use Tax Department (Louisiana)


   STARS    Alliance

   Starwood Capital

   Steadfast lnsurance Company

   Sulzer Chemtech Ltd


   Sumitomo Corporation Europe Limited

   SWAGELOK


   Swanson, Richard A

   Sweeney, Michael T

   System Energy Resources, lnc.

   T?V Saarland Bildung

   Taff, Michael    S.

   Teachers lnsurance and Annuity Association of America

   Tengizchevroil

   Tennessee Valley Authority



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    Texas Comptroller of Public Accounts

    Texas Utilities Electric Company

    Time Warner
    T-Mobile
    Toshiba Corporation

    Toshiba Corporation Power Systems Company

    Transcanada

    Transport Logistics lnternational
    Tronox Speciality Alkali Corp.

    Turner Construction Company

    TXU Electric

    U S Customs

    U.S Fish &   Wildlife Service
    U.S. Army Corps    of Engineers
    U.S. Coast Guard

    U.S. Customs and Border     Protection
    U.S.   Department of Energy

    U.S.   Department of Health & Human Services

    U.S.   Department of Transportation
    U.S.   Environmental Protection Agency
    U.S. Federal   Aviation Administration
    U.S. Nuclear Regulatory Commission

    U.S, Specialty lnsurance Company (HCC)

    Ultra Electronics Limited

    UniCredit

    United Rentals
    United States - Department of the Treasury   -   IRS

    United States Attorney's Office for the District of Delaware

    United States Attorney's Office for the Southern District of New York

   United States Department of Energy (DOE)
   Unitil
   Uranium One lnc.

   US -    Department of Defense (DOD)

   US   - Department of Health and Human Services (HHS)

   US   - Department of Transportation (DOT)


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   US   - Environmental Protection Agency (EPA)

   US   - lnternal Revenue Service


   US -   Occupational Safety and Health Administration (OSHA)

   US Bank   Transportation Solutions

   US Ecology   ldaho, lnc.

   US   Security Associates lnc.

   Utah, State of
   VattenfallAB
   Verizon

   Vermont Secretary of State
   Vigor

   Virginia Electric & Power Company, d/b/a Dominion Virginia Power
   Virginia State Corporation Commission

   Vistra Energy ( Luminant)

   Wachs Energy Services Company

   Wachtell, Lipton, Rosen & Katz
   Walter Davis
   Washington, State of

   Waste Management North

   Watlow Electric Mfg Co
   Weed lnstrument Dba Ultra Electroni

   Weil, Gotshal & Manges      LLP


   Wells Fargo Bank, N.A


   Western Surety Company

   Westinghouse Electric Company (Delaware)       LLC

   Williams Scotsman lnc.
   Williams, R, Rex

   Wisconsin Electric Power Company

   Wisconsin Public Service Corporation

   Wolf Creek Nuclear
   Wyoming Secretary of State


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